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                                      THE CITY OF NEW YORK                           AMANDA C. CROUSHORE

                                     LAW DEPARTMENT
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                                                                                October 25, 2021
By ECF
Hon. Valerie E. Caproni
United States District Court
Southern District of New York
Thurgood Marshall Courthouse
40 Foley Square,
New York, NY 10007


                Re: Kane, et al. v. de Blasio, et al., Dkt. 21 Civ. 7863

Dear Judge Caproni:

               I am an Assistant Corporation Counsel in the office of Georgia M. Pestana,
Corporation Counsel for the City of New York, attorneys for the defendants in the above-
referenced case. I write in response to plaintiffs’ letter filed today, October 25, 2021 (Dkt. 68),
seeking a stay of the briefing schedule set by Your Honor on October 12, 2021 (Dkt. 60), pursuant
to which plaintiffs’ supplemental brief is due tomorrow, October 26, 2021. In addition, plaintiffs
ask your honor to stay enforcement of New York City Health Commissioner’s Order dated
September 28, 2021, which went into force October 1, 2021.

                Defendants oppose plaintiffs’ application.

                First, the supplemental briefing ordered by Your Honor is intended to address
“whether Plaintiffs have standing to bring as-applied challenges to the DOE Vaccine Mandate as
applied by the Arbitration Awards.” (Dkt. 60). In other words, the issue raised goes to whether
plaintiffs have standing to bring their as applied challenges in the case in chief, not just for the
purposes of the preliminary injunction motion, which is the subject of appeal. Accordingly,
regardless of the status or outcome of plaintiffs’ appeal, the issue of standing still needs to be
addressed, separate and apart from the issues that may be raised on appeal.
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                Moreover, Plaintiffs’ request to stay the briefing schedule the day before their brief
is due is untimely, and the reasons for delaying in filing it, and their notice of interlocutory appeal,
are unstated.

                 Finally, in asking for the Health Commissioner’s Order be stayed until the appeal
is decided, plaintiffs are essentially asking for the same relief they were denied when their motion
for an injunction was heard; i.e., they are seeking a reversal of the Court’s October 12, 2021 ruling.
The factors governing the issuance of a stay pending appeal under Rule 62(c) are substantially
similar to those used to decide whether to grant a preliminary inunction in the first place. They
are: “(1) whether the stay applicant has made a strong showing that he is likely to succeed on the
merits; (2) whether the applicant will be irreparably injured absent a stay; (3) whether issuance of
the stay will substantially injure the other parties interested in the proceeding; and (4) where the
public interest lies.” Frye v. Lagerstrom, No. 15 Civ. 5348 (NRB), 2018 U.S. Dist. LEXIS 175509,
at *3-4 (S.D.N.Y. Oct. 10, 2018) (citing SEC v. Citigroup Glob. Markets Inc., 673 F.3d 158, 162
(2d Cir. 2012)). Your Honor has already concluded that the relief sought by plaintiffs here do not
meet these standards. There is no reason given in plaintiffs’ letter explaining why the Court should
reach a different conclusion today.

              If plaintiffs would instead like to seek an extension of their time to file their
supplemental briefing, defendants would not oppose that request.

                                                        Respectfully submitted,

                                                                /s/ Amanda C. Croushore

                                                        Assistant Corporation Counsel



Copies to: All counsel of record (by ECF)




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